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11
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13   IRICO DISPLAY DEVICES CO., LTD.

14

15                               UNITED STATES DISTRICT COURT

16                          NORTHERN DISTRICT OF CALIFORNIA

17                                     OAKLAND DIVISION

18

19   IN RE: CATHODE RAY TUBE (CRT)               Master File No. 4:07-cv-05944-JST
     ANTITRUST LITIGATION                        (N.D. Cal.)
20
                                                 MDL No. 1917
21
     This Document Relates to:                   IRICO DEFENDANTS
22                                               ADMINISTRATIVE MOTION TO
     ALL DIRECT PURCHASER ACTIONS                CONSIDER WHETHER ANOTHER
23                                               PARTY’S MATERIAL SHOULD BE
                                                 SEALED PURSUANT TO CIVIL LOCAL
24                                               RULES 7-11 AND 79-5(f)

25
                                                 Date: March 31, 2022
26                                               Time: 2:00 pm
                                                 Judge: Hon. Jon S. Tigar
27                                               Courtroom: 6, 2nd Floor
28    IRICO DEFENDANTS ADMINISTRATIVE                      Master File No. 4:07-cv-05944-JST
      MOTION TO CONSIDER WHETHER                                               MDL No. 1917
      ANOTHER PARTY’S MATERIAL SHOULD
      BE SEALED
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants Irico Group Corporation and

 2   Irico Display Devices Co., Ltd. (“Irico”) hereby move the Court to consider whether another

 3   party’s material should be sealed.

 4          Irico has reviewed and complied with this Court’s Standing Order Governing

 5   Administrative Motions to File Materials Under Seal Before District Judge Jon S. Tigar (Nov.

 6   10, 2021) and Civil Local Rule 79-5.

 7           Defendant proposes to seal or redact the following documents or portions thereof:
 8

 9    Document Proposed to Be Sealed or Redacted                Designating Entity
      Gray highlighted portions of Irico Defendants’            Various Defendants
10
      Opposition to Direct Purchaser Plaintiffs’ Motion for
11    Class Certification with Respect to the Irico
      Defendants, which reflect quotations from the
12    documents listed below, which were designated
      confidential and to Irico’s knowledge never publicly
13    filed.
14
      Exhibit 2 to the Declaration of Thomas Carter in          Hitachi
15    Support of Irico Defendants’ Opposition to Direct
      Purchaser Plaintiffs’ Motion for Class Certification
16    with Respect to the Irico Defendants – Excerpted
      Deposition Testimony of L. Thomas Heiser
17

18

19    Exhibit 3 to the Declaration of Thomas Carter in          Philips
      Support of Irico Defendants’ Opposition to Direct
20    Purchaser Plaintiffs’ Motion for Class Certification
      with Respect to the Irico Defendants – Excerpted
21
      Deposition Testimony of Roger De Moor
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28    IRICO DEFENDANTS ADMINISTRATIVE                              Master File No. 4:07-cv-05944-JST
      MOTION TO CONSIDER WHETHER                                                       MDL No. 1917
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      BE SEALED
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 1   Exhibit 4 to the Declaration of Thomas Carter in          SDI
     Support of Irico Defendants’ Opposition to Direct
 2   Purchaser Plaintiffs’ Motion for Class Certification
 3   with Respect to the Irico Defendants – Excerpted
     Deposition Testimony of Michael Son
 4

 5
     Exhibit 5 to the Declaration of Thomas Carter in          SDI
 6
     Support of Irico Defendants’ Opposition to Direct
 7   Purchaser Plaintiffs’ Motion for Class Certification
     with Respect to the Irico Defendants – Excerpted
 8   Deposition Testimony of Jae In Lee
 9
10
     Exhibit 6 to the Declaration of Thomas Carter in          Chunghwa
11   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
12   with Respect to the Irico Defendants – Excerpted
     Deposition Testimony of Chih Chun-Liu
13

14

15   Exhibit 7 to the Declaration of Thomas Carter in          Various Defendants
     Support of Irico Defendants’ Opposition to Direct
16   Purchaser Plaintiffs’ Motion for Class Certification
     with Respect to the Irico Defendants – Expert Report of
17   Robert D. Willig, dated September 10, 2013
18

19
     Exhibit 8 to the Declaration of Thomas Carter in          Panasonic
20   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
21
     with Respect to the Irico Defendants – Excerpted
22   Deposition of Hirokazu Nishiyama

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28   IRICO DEFENDANTS ADMINISTRATIVE                             Master File No. 4:07-cv-05944-JST
     MOTION TO CONSIDER WHETHER                                                      MDL No. 1917
     ANOTHER PARTY’S MATERIAL SHOULD
     BE SEALED
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 1   Exhibit 9 to the Declaration of Thomas Carter in       Panasonic
     Support of Irico Defendants’ Opposition to Direct
 2   Purchaser Plaintiffs’ Motion for Class Certification
 3   with Respect to the Irico Defendants – Excerpted
     Deposition of Tatsuo Tobinaga
 4

 5
     Exhibit 10 to the Declaration of Thomas Carter in      Toshiba
 6
     Support of Irico Defendants’ Opposition to Direct
 7   Purchaser Plaintiffs’ Motion for Class Certification
     with Respect to the Irico Defendants – Excerpted
 8   Deposition of Yoshiaki Uchiyama
 9
10
     Exhibit 11 to the Declaration of Thomas Carter in      SEC/SEA
11   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
12   with Respect to the Irico Defendants – Excerpted
     Deposition of Steve Panosian
13

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15   Exhibit 12 to the Declaration of Thomas Carter in      Toshiba
     Support of Irico Defendants’ Opposition to Direct
16   Purchaser Plaintiffs’ Motion for Class Certification
     with Respect to the Irico Defendants – Excerpted
17   Deposition of Richard Huber
18

19
     Exhibit 13 to the Declaration of Thomas Carter in      LG Electronics
20   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
21
     with Respect to the Irico Defendants – Excerpted
22   Deposition of Yun Seok Lee

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28   IRICO DEFENDANTS ADMINISTRATIVE                          Master File No. 4:07-cv-05944-JST
     MOTION TO CONSIDER WHETHER                                                   MDL No. 1917
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 1   Exhibit 16 to the Declaration of Thomas Carter in      Royal Data
     Support of Irico Defendants’ Opposition to Direct
 2   Purchaser Plaintiffs’ Motion for Class Certification
 3   with Respect to the Irico Defendants – Deposition of
     Phillip Lau
 4

 5
     Exhibit 18 to the Declaration of Thomas Carter in      Chunghwa
 6
     Support of Irico Defendants’ Opposition to Direct
 7   Purchaser Plaintiffs’ Motion for Class Certification
     with Respect to the Irico Defendants – a certified
 8   translation of a document produced by Chunghwa,
     Bates labeled CHU00029259E
 9
10

11   Exhibit 19 to the Declaration of Thomas Carter in      Chungwha
     Support of Irico Defendants’ Opposition to Direct
12   Purchaser Plaintiffs’ Motion for Class Certification
     with Respect to the Irico Defendants – a certified
13   translation of a document produced by Chunghwa,
14   Bates labeled CHU00029179E

15

16   Exhibit 20 to the Declaration of Thomas Carter in      Chunghwa
     Support of Irico Defendants’ Opposition to Direct
17   Purchaser Plaintiffs’ Motion for Class Certification
18   with Respect to the Irico Defendants – a certified
     translation of a document produced by Chunghwa,
19   Bates labeled CHU00031018E

20

21
     Exhibit 21 to the Declaration of Thomas Carter in      Chunghwa
22   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
23   with Respect to the Irico Defendants – a certified
     translation of a document produced by Chunghwa,
24   Bates labeled CHU00031032E
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28   IRICO DEFENDANTS ADMINISTRATIVE                          Master File No. 4:07-cv-05944-JST
     MOTION TO CONSIDER WHETHER                                                   MDL No. 1917
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 1   Exhibit 23 to the Declaration of Thomas Carter in         Chunghwa
     Support of Irico Defendants’ Opposition to Direct
 2   Purchaser Plaintiffs’ Motion for Class Certification
 3   with Respect to the Irico Defendants – a certified
     translation of a document produced by Chunghwa,
 4   Bates labeled CHU00030748E.

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 6
     Exhibit 24 to the Declaration of Thomas Carter in         Chunghwa
 7   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
 8   with Respect to the Irico Defendants – a certified
     translation of a document produced by Chunghwa,
 9   Bates labeled CHU00031101E.
10

11
     Exhibit 25 to the Declaration of Thomas Carter in         Various Defendants
12   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
13   with Respect to the Irico Defendants – chart showing
14   sales volume and share information for the Top 5
     customers that purchased color display tubes and color
15   picture tubes, summarized from backup data provided
     for the Expert Report of Phillip M. Johnson. The
16   underlying data was designed confidential by other
     defendants in this action.
17
     Exhibit 26 to the Declaration of Thomas Carter in         Chunghwa
18   Support of Irico Defendants’ Opposition to Direct
     Purchaser Plaintiffs’ Motion for Class Certification
19
     with Respect to the Irico Defendants – a certified
20   translation of a document produced by Chunghwa,
     Bates labeled CHU00030068E
21

22
     Exhibit 27 to the Declaration of Thomas Carter in         Various Defendants
23
     Support of Irico Defendants’ Opposition to Direct
24   Purchaser Plaintiffs’ Motion for Class Certification
     with Respect to the Irico Defendants – Expert Report of
25   Jeffrey Leitzinger date November 6 ,2014.
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28   IRICO DEFENDANTS ADMINISTRATIVE                             Master File No. 4:07-cv-05944-JST
     MOTION TO CONSIDER WHETHER                                                      MDL No. 1917
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 1    Exhibit 28 to the Declaration of Thomas Carter in            Toshiba
      Support of Irico Defendants’ Opposition to Direct
 2    Purchaser Plaintiffs’ Motion for Class Certification
 3    with Respect to the Irico Defendants – Excerpted
      Deposition of Jay Alan Heinecke
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 6
      Exhibit 29 to the Declaration of Thomas Carter in            SDI
 7    Support of Irico Defendants’ Opposition to Direct
      Purchaser Plaintiffs’ Motion for Class Certification
 8    with Respect to the Irico Defendants – Excerpted
      Deposition of Sang-Kyu Park.
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            Civil Local Rule 79-5 governs the filing under seal of documents in civil cases. In
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     compliance with Civil Local Rule 79-5(f), Irico submits this Motion in order to file (a) material
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     designated by a Defendant pursuant to the Stipulated Protective Order, ECF No. 0306, as
15
     “Confidential” or “Highly Confidential”; or (b) references to or quotations from material or data
16
     designated by another party pursuant to a Protective Order as “Confidential” or “Highly
17
     Confidential.”
18
            Irico seeks to file the above material under seal in good faith in order to comply with the
19
     Protective Order in this action and the applicable Local Rules. Under Civil L.R. 79-5(c) and (f),
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     the parties that contend the material they have designated is confidential in nature bear the burden
21
     to establish that the designated information meets the requirements for sealing. See Kamakana v.
22
     City of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006). Irico understands that, given the
23
     Court’s direction at the hearing on DPPs' motion to seal, ECF No. 5966, the remaining materials
24
     subject to this motion may not qualify for filing under seal. Irico hereby withdraws its
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     designation of “Confidential” as to all materials produced by Irico included in its filing. Irico will
26
     undertake to reach out to the parties listed in the chart above in order to secure their permission to
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28    IRICO DEFENDANTS ADMINISTRATIVE                                  Master File No. 4:07-cv-05944-JST
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 1   file the materials publicly and will inform the court of its efforts. However, Irico notes that

 2   Chunghwa currently has no active counsel for the instant litigation and previous attempts to reach

 3   out to representatives of Chunghwa have been unsuccessful.

 4           WHEREFORE, Defendants respectfully submit this administrative motion pursuant to

 5   the Protective Order and Civil Local Rule 79-5(f) and hereby notify the parties of their burden

 6   to establish that the designated material is sealable.

 7

 8
     Dated: January 21, 2022                        Respectfully submitted,
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10

11

12                                                        /s/ Thomas Carter
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16
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17                                                 IRICO GROUP CORP. and
                                                   IRICO DISPLAY DEVICES CO., LTD.
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28    IRICO DEFENDANTS ADMINISTRATIVE                                  Master File No. 4:07-cv-05944-JST
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28   IRICO’S DEFENDANTS ADMINISTRATIVE   1           Master File No. 4:07-cv-05944-JST
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